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                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY


   KIMBERLEE WILLIAMS, et al.
                                             No. 2:11-cv-01754 (ES) (JAD)
   Plaintiffs,
                     vs.
                                                    CIVIL ACTION
   BASF CATALYSTS LLC, et al.

   Defendants.


                 Consent Order Amending Deadlines


        WHEREAS, on September 3, 2020, the Court entered an Order

  Preliminarily Approving the proposed Class Action Settlement of this

  matter (ECF No. 623); and

        WHEREAS, the Court’s Preliminary Approval Order established

  a schedule of deadlines for notice, filing of claims and other steps to

  effectuate the Settlement Agreement and Plan of Distribution; and

        WHEREAS, on September 17, 2020, the Notice Administrator

  commenced providing direct notice by United States first class mail to

  living putative class members, relatives of deceased putative class

  members and attorneys who had represented putative class members in
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  Underlying Lawsuits, and in addition provided notice by publication,

  all in compliance with ECF No. 623; and

        WHEREAS, the Notice Administrator has reported that 84.6% of

  Class Members have been reached directly and through at least one

  relative; and

        WHEREAS, despite their due diligence, putative class members

  and counsel seeking to file claims on behalf of putative class members

  have encountered unforeseen difficulties because of the COVID-19

  pandemic in obtaining the necessary information and documentation to

  file claims by the claims deadline originally set forth in the Preliminary

  Approval Order ( ECF No. 623); and

        WHEREAS, upon learning of the difficulties being encountered

  the Special Master directed the Parties to the Settlement Agreement to

  forthwith meet and confer on the situation; and

        WHEREAS, in light of the foregoing, the Parties have agreed that

  a reasonable extension of deadlines established in the Preliminary

  Approval Order are required to ameliorate the difficulties in the claims

  filing and approval process; and




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        WHEREAS, the Parties through respective counsel have

  consented to the entry of this Order amending the Preliminary

  Approval Order ;

        IT IS on this 11th day of January, 2021, hereby ORDERED that

  the Deadlines established in ECF No. 623 are hereby amended as

  follows:

        Objection Submission Deadline               February 16, 2021

        Opt-Out Deadline                            February 16, 2021

        Opt-Out Revocation Deadline                      March 2, 2021

        Final Op-Out List Generated                      March 8, 2021

        Claims Filing Deadline                         March 16, 2021

        Document Submission Deadline                     April 20, 2021

        Objection Response Deadline                      June 29, 2021

        Motion for Final Approval Deadline               June 29, 2021




        The Amended Deadlines established in this Order shall be

  prominently displayed on the Settlement Administration Website.

        The Final Approval Fairness Hearing remains scheduled before

  this Court on July 29, 2021, at 10:00 am.
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                               BY THE COURT


                                     ___________________________
                                      /s/ Joseph A. Dickson
                                      Hon. Joseph A. Dickson
                                     United States Magistrate Judge


    Dated: January 11, 2021




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